Case 1:11-cV-1O402-GAO Document 3 Filed 05/11/11 Page 1 of 1

UN|TED STATES DlSTR|CT COUR`T
DISTRICT OF MASSACHUSETTS

Joe Cisneros C|V|L ACT|ON
P|aintiff
NO. 1:11-0\1-10402

 

Defendant

EOS CCA lNC

 

STIPULATEON FOR DiSMiSSAL

Now come the parties in the above-entitled action, by their attorneye,- and
hereby stipulate and agree that the action be Dismissed, With prejudice

and without costs.

Dated this 11 day of IViav, 2011

Attorney for Plaintiff

hit ti\w\i\/

Attorney for Defendant

 

